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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )         Case No. 3:16-cv-00164-BLW
                                            )
and                                         )
                                            )         JOINT ADDENDUM TO
NEZ PERCE TRIBE,                            )         LITIGATION PLAN FORM
                                            )
            Proposed Plaintiff-Intervenor,  )
                                            )
and                                         )
                                            )
CHRISTOPER GEORGE, SAMUEL GEORGE, )
LOU ANN LASSWELL, SHAWNEY                   )
HARDRIDGE, JENNIFER GEORGE,                 )
and FELICIA SALAS,                          )
                                            )
            Proposed Plaintiff-Intervenors, )
                                            )
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v.                                                     )
                                                       )
LEROY HOWELL and                                       )
KATHERINE M. HOWELL, husband and wife,                 )
                                                       )
                Defendants.                            )
                                                       )


        On February 6, 2018, counsel for Plaintiff, Defendants, and Proposed Plaintiff-

Intervenors held a conference call to discuss a proposed scheduling timeframe for this case. The

parties’ dispute is a longstanding one: prior to the filing of this action, the parties both sought to

resolve their disagreements through a variety of administrative remedies, and the Defendants

eventually filed a quiet title action in this Court against the United States. Howell v. United

States Department of the Interior, D.C. No. 3:11-cv-00653-EJL, appeal docketed, No. 14-35331

(9th Cir. Apr. 22, 2014). It is for this reason that, as the Court is aware, the parties sought leave

to stay the case—and the case has been stayed—since shortly after the United States filed its

complaint (Doc. 1) in April, 2016, to allow the parties to engage in mediated settlement

discussions. Thus, no litigation has occurred to date and, for that reason, the parties want to bring

to the Court’s attention the need to set two additional deadlines not addressed in the Litigation

Plan Form they have filed concurrently with this Joint Addendum.

Motions to Intervene

        The Nez Perce Tribe and six individual Indian landowners separately filed intervention

motions on June 15, 2016, and March 15, 2017, respectively (Docs. 9 and 29). The litigation

having been stayed, the parties have not briefed the motions and the Court has not decided them.

The parties therefore propose the following schedule for the completion of briefing of the

motions as an initial step in the litigation of this case:




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   •   On or before February 28, 2018, Defendants shall file response briefs to the motions for

       intervention or a statement of non-opposition to those motions.

   •   If Defendants oppose the motions, on or before March 14, 2018, Proposed Plaintiff-

       Intervenors and Plaintiff shall file reply briefs.


Responsive Pleadings

       Also because of the litigation stay having remained in place, the Defendants have yet to

file a responsive pleading. The parties propose the following schedule to govern the filing of

responsive pleadings:


   •   On or before February 28, 2018, Defendants shall serve a responsive pleading to the

       Plaintiff’s complaint.

   •   If Defendants file a statement of non-opposition to the motions for intervention, within 21

       days after that filing, Defendants shall serve a responsive pleading to the Proposed

       Plaintiff-Intervenors’ complaints-in-intervention.

   •   If Defendants oppose the motions for intervention and the Court grants the motions,

       within 21 days after the Court enters an order granting the Proposed Plaintiff-Intervenors

       leave to intervene or, having been granted leave to intervene, the Proposed Plaintiff-

       Intervenors file their complaints-in-intervention with the Court, as the Court directs,

       Defendants shall serve a responsive pleading to the Proposed Plaintiff-Intervenors’

       complaints-in-intervention.

   •   If the Defendants file a counterclaim or counterclaims as part of their responsive pleading

       to any of the complaints, within 14 days after service of the responsive pleading

       containing the counterclaim(s), the Plaintiff, or either of the Proposed Plaintiff-



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      Intervenors, as the case may be, shall serve a responsive pleading to the Defendants’

      counterclaim(s).


      Dated: February 8, 2018

                                           Respectfully submitted,

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